         Case: 4:18-cr-00847-NCC Doc. #: 4 Filed: 10/17/18 Page: 1 of 1 PageID #: 5

                           Courtroom Minute Sheet
                  ARRAIGNMENT/PLEA/CHANGE OF PLEA
                WAIVER OF INDICTMENT/PLEA PROCEEDINGS

Date October 17, 2018                    Case No. 4:18cr00847 NCC
UNITED STATES OF AMERICA vs. Dustin Lockwood
Judge Noelle C. Collins                    Court Reporter FTR Gold
Deputy Clerk B. Porter                        Interpreter n/a
Assistant United States Attorney(s) Rodney Holmes
Attorney(s) for Defendant Melissa Goymerac

Arraignment/Waiver of Indictment/Plea:
Defendant’s age 23                       Education High School Diploma
9 Defendant waives assistance of counsel 9 Waiver filed
9 Arraignment continued until                             at           a.m./p.m.
9 Defendant signs waiver of indictment and consents to proceed by information
9 Criminal 9 superseding 9 information 9 indictment filed
9 Defendant waives reading of indictment/information 9
✔                                                      ✔ Defendant arraigned

9 Defendant enters a plea of 9
✔                             ✔ GUILTY 9 NOT GUILTY to counts one                of the 9
superseding 9 indictment 9 information 9 Pretrial Motions Order 9 issued 9 to issue

Change of Plea:
9 The Court finds the defendant competent to enter a plea of guilty.
✔

9 By leave of Court, the defendant withdraws former plea of not guilty and enters
✔

   a plea of guilty to count(s) one      of the 9 superseding 9 information 9 indictment
9
✔ Stipulation of facts relative to sentencing filed 9 with 9 without plea agreement
                                                  ✔


9 The Court adopts and approves 9 Stipulation of Facts 9 *XLOW\Plea Agreement
9 The Court defers the adoption of 9 Stipulation of Facts 9 *XLOW\Plea Agreement
   until the date of sentencing
9
✔ *XLOW\3OHD$JUHHPHQWILOHG

9
✔ Ordered that count(s) one        be held in abeyance until sentencing
9 Ordered that pending motions as to defendant                            are denied as moot
9
✔ Sentencing set To Be Set       at
9 OBJECTIONS TO OR ACCEPTANCE OF PSR DUE
9
✔ Defendant is remanded to custody        9 Defendant is released on existing bond
(If defendant was on bond and is remanded, change location code to “LC.”)
Probation Officer Not Present


Proceedings commenced     12:56   P.M concluded at    1:22   P.M
